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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEBRASKA


 MELANIE DAVIS,
                                                   Case No. _______________
               Plaintiff,

 v.
                                                               COMPLAINT
 MFP MID-AMERICA SHOPPING CEN-
 TERS LLC,                                                 Injunctive Relief Sought

               Defendant



        Plaintiff Melanie Davis, by and through the undersigned counsel, brings this action
against MFP Mid-America Shopping Centers LLC, a Delaware limited liability company
for violations of the Americans With Disabilities Act, 42 U.S.C. § 12181, et seq. (the
“ADA”) and its implementing regulations, and alleges as follows:

                                    INTRODUCTION

        1.    Plaintiff brings this civil rights action against Defendant for failing to design,
construct, and/or own or operate facilities that are fully accessible to, and independently
usable by, persons with disabilities. Defendant has failed to remove architectural barriers
in the multi-tenant commercial building known as “Miracle Hills Park”, even though such
removal is readily achievable.
        2.    The violations alleged in this complaint occurred at “Miracle Hills Park”,
located at 620 N 114th St, Omaha, NE 68154.
        3.    Defendant’s failure to provide equal access to “Miracle Hills Park” violates
the mandates of the ADA to provide full and equal enjoyment of a public accommodation’s
goods, services, facilities, privileges, and advantages.

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       4.      Defendant’s conduct constitutes an ongoing and continuous violation of the
law.
       5.      Accordingly, Plaintiff seeks a declaration that Defendant’s facilities violate
federal and an injunction requiring Defendant to make modifications to the facilities so that
they are fully accessible to, and independently usable by, individuals with disabilities.
Plaintiff further requests that the Court retain jurisdiction over this matter for a period to
be determined to ensure that Defendant continues to comply with the relevant requirements
of the ADA.

                             JURISDICTION AND VENUE

       6.      Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1343(a)(3).
This action includes federal law claims brought pursuant to Title III of the Americans with
Disabilities Act, 42 U.S.C. §§ 12181–12189. The Court has the jurisdiction to issue a de-
claratory judgment pursuant to 28 U.S.C. § 2201 and Fed R. Civ. P. 57.
       7.      Venue in this judicial district is proper because Defendant is located and
transacts business within this judicial district and has sufficient contacts to be subject to
personal jurisdiction in this judicial district, and because this is the judicial district in which
the acts and omissions giving rise to the claims occurred.

                                           PARTIES

       8.      Plaintiff Melanie Davis is a resident of Omaha, Nebraska. Plaintiff Davis
grew up in Omaha, Nebraska and lived there until she moved to Minnesota in 2005. While
living in Minnesota, she visited Omaha many times, including five visits in 2016-2017.
She moved back to Omaha in 2017, where she now resides.
       9.      Plaintiff Melanie Davis suffers from, and all times relevant hereto has suf-
fered from, Cerebral Palsy, a condition that substantially limits her ability to walk and

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stand, and is therefore a legal disability as defined by the ADA, 42 U.S.C. § 12102(2).
Plaintiff is therefore a member of a protected class under the ADA, under the regulations
implementing the ADA set forth at 28 C.F.R. § 36.101 et seq., and under the MHRA. As a
person with a disability, Plaintiff Davis has a personal interest in having full and equal
access to places of public accommodation and to the goods, services, facilities, privileges,
advantages or other things offered therein.
       10.      Defendant MFP Mid-America Shopping Centers LLC, a Delaware limited
liability company, is the owner and lessor of the real property and improvements which are
the subject of this action, the multi-tenant commercial building known as “Miracle Hills
Park”, a place of public accommodation within the meaning of the ADA, located at the
street address of 620 N 114th St, Omaha, NE 68154.

                              FACTUAL BACKGROUND

       11.      On September 27, 2017, Plaintiff Davis attempted to patronize the multi-ten-
ant commercial building known as “Miracle Hills Park” in Omaha, Nebraska. “Miracle
Hills Park” had tenant businesses, including Miracle Hills Animal Hospital, Cilantro Mex-
ican, and the Taj Kabob and Curry.
       12.      When Plaintiff and her boyfriend drove to “Miracle Hills Park” she found
approximately 289 total parking spaces and 9 parking spaces reserved for persons with
disabilities.
       13.      Plaintiff found that 4 of the 9 reserved parking spaces did not have an adja-
cent access aisle.
       14.      Plaintiff found no accessible parking on the side of the building that con-
tained Miracle Hills Animal Hospital.
       15.      Plaintiff found 0 van parking spaces in the “Miracle Hills Park” parking lot.



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       16.      Images in Exhibit A to this Complaint depict the reserved parking spaces in
the “Miracle Hills Park” customer parking lot.
       17.      In light of the architectural barriers at “Miracle Hills Park”, Plaintiff Davis
is deterred from visiting “Miracle Hills Park” in the future. Plaintiff Davis intends to return
to “Miracle Hills Park” to patronize the facility, but these architectural barriers deter her
from doing so. She plans to return and patronize “Miracle Hills Park” when she learns that
the premises have been made fully accessible to persons who use wheelchairs for mobility.
       18.      Plaintiff Davis is a resident of Omaha, Nebraska, and she plans to continue
visiting local Omaha businesses in the future and would enjoy being able to patronize the
tenants of Defendant’s multi-tenant commercial building.
       19.      Plaintiff Davis attempted to access Defendant’s premises, but could not do
so independently on a full and equal basis because of her disabilities, due to the physical
barriers to access and violations of the ADA that exist at Defendant’s premises. As a result
of Defendant’s non-compliance with the ADA, Plaintiff Davis cannot independently access
the facilities and/or is excluded from full and equal enjoyment of the goods, services, priv-
ileges, advantages, and/or accommodations offered therein.

              THE ADA AND ITS IMPLEMENTING REGULATIONS

       20.      On July 26, 1990, President George H.W. Bush signed into law the ADA, 42
U.S.C. § 12101, et seq., a comprehensive civil rights law prohibiting discrimination on the
basis of disability. In its findings, Congress determined that, among other things:
             a. Some 43 million Americans have one or more physical or mental disabilities,
                and this number is increasing as the population as a whole grows older;
             b. Historically, society has tended to isolate and segregate individuals with dis-
                abilities, and, despite some improvements, discrimination against individuals
                with disabilities continues to be a serious and pervasive social problem;

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             c. Discrimination against individuals with disabilities persists in such critical
                areas as employment, public housing accommodations, education, transpor-
                tation, communication, recreation, institutionalization, health services, vot-
                ing, and access to public services;
             d. Individuals with disabilities continually encounter various forms of discrim-
                ination; and
             e. The continuing existence of unfair and unnecessary discrimination and prej-
                udice denies people with disabilities the opportunity to compete on an equal
                basis and to pursue those opportunities for which our society is justly famous,
                and costs the United States billions of dollars in unnecessary expenses result-
                ing from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1)–(3), (5), (9).

       21.      Congress explicitly stated that the purpose of the ADA was to:
             a. Provide a clear and comprehensive mandate for the elimination of discrimi-
                nation against individuals with disabilities;
             b. Provide clear, strong, consistent, enforceable standards addressing discrimi-
                nation against individuals with disabilities; and
             c. Invoke the sweep of congressional authority, including the power to enforce
                the Fourteenth Amendment and to regulate commerce, in order to address
                the major areas of discrimination faced day-to-day by individuals with disa-
                bilities.
42 U.S.C. § 12101(b)(1), (2), (4).
       22.      Title III of the ADA prohibits discrimination in the activities and facilities of
places of public accommodation, and requires places of public accommodation to comply


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with ADA standards and to be readily accessible to, and independently usable by, individ-
uals with disabilities. 42 U.S.C. § 12181–89.
       23.    The ADA provided places of public accommodation one and one half years
from its enactment to implement its requirements. The effective date of Title III of the
ADA was January 26, 1992 (or January 26, 1993 if a business had 10 or fewer employees
and gross receipts of $500,000 or less). 42 U.S.C. § 2181; 28 C.F.R. § 36.508(a).
       24.    Pursuant to the mandates of 42 U.S.C. § 12134(a), the Department of Justice
(“DOJ”) promulgated federal regulations to implement the requirements of Title III of the
ADA, which are codified at 28 C.F.R. Part 36. Appendix A of the 1991 Title III regulations
(republished as Appendix D to 28 C.F.R. Part 36) contains the ADA Standards for Acces-
sible Design, which were based upon the ADA Accessibility Guidelines (“1991 ADAAG”)
published by the Access Board on the same date. Public accommodations were required to
conform to these regulations by January 26, 1992 (or January 26, 1993 if a business had
10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181, et seq.;
28 C.F.R. § 36.508(a).
       25.    In 1994, the Access Board began the process of updating the 1991 ADAAG
by establishing a committee composed of members of the design and construction indus-
tries, the building code community, and State and local government entities, as well as
individuals with disabilities.
       26.    In 1999, based largely upon the report and recommendations of the advisory
committee, the Access Board issued a notice of proposed rulemaking to update and revise
the 1991 ADAAG.
       27.    The Access Board issued final publication of revisions to the 1991 ADAAG
on July 3, 2004.




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       28.      On September 30, 2004, the DOJ issued an advance notice of proposed rule-
making to begin the process of adopting the 2004 ADAAG revisions.
       29.      On June 17, 2008, the DOJ published a notice of proposed rulemaking cov-
ering Title III of the ADA.
       30.      The extended process of revising the 1991 ADAAG culminated with the
DOJ’s issuance of the 2010 Standards for Accessible Design (“2010 Standards”). The 2010
Standards incorporated the revised 2004 ADA Accessibility Guidelines (“ADAAG”), as
well as the requirements contained in subpart D of 28 C.F.R. Part 36. The DOJ published
the Final Rule detailing the 2010 Standards on September 15, 2010. The 2010 Standards
became effective on March 15, 2011.

                              FACTUAL ALLEGATIONS

       31.      Defendant has discriminated against Plaintiff on the basis of her disabilities
by failing to comply with the requirements of the ADA and the ADAAG with regard to
“Miracle Hills Park”. A specific, though not exclusive, list of unlawful physical barriers
and ADA violations present at “Miracle Hills Park” which limit the ability of persons in
wheelchairs to access the facilities and/or to enjoy the goods, services, privileges, ad-
vantages and/or accommodations offered therein on a full and equal basis, includes the
following:
             a. The “Miracle Hills Park” customer parking lot had approximately 289 total
                parking spaces and 9 parking spaces reserved for persons with disabilities
                through posted signage, but had only 5 parking spaces reserved for persons
                with disabilities that complied with ADAAG 502, in violation of ADAAG
                208.2. Plaintiff requires complaint accessible parking spaces to ensure she
                can park safely, make a safe transfer between her vehicle and wheelchair,
                and travel safely between the parking lot to the building entrance.

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            b. 4 of the 9 parking spaces reserved for persons with disabilities lacked an ad-
               jacent access aisle, in violation of ADAAG 502.2. Plaintiff uses a wheelchair
               for mobility and requires space to transfer between her vehicle and the park-
               ing lot.
            c. The parking spaces reserved for persons with disabilities were not dispersed
               throughout the parking lot, with 0 reserved parking spaces on the south side
               of the parking lot, in violation of ADAAG 208.3.1. Plaintiff would have to
               travel a significant distance between Miracle Hills Animal Hospital and the
               nearest accessible parking space.
            d. The “Miracle Hills Park” customer parking lot had 0 van parking spaces,
               complying with ADAAG 502, in violation of ADAAG 208.2.4.
      32.      The above listing is not to be considered all-inclusive of the barriers and vi-
olations of the ADA encountered by Plaintiff or which exist at “Miracle Hills Park”. To
qualify as an accessible parking structure, and for a parking space to qualify an accessible
parking space, the space must be located on an accessible route, the route must be the
shortest accessible route, the space must be marked by appropriate signage, the space must
be flanked by an access aisle, and the space and access aisle must comply with sloping
requirements. ADAAG 206; 208; 216, Chapter 4 including but not limited to 402, 403,
404, 405, and 406; and 502.
      33.      In order to fully remedy the discriminatory conditions, Plaintiff requires an
inspection of “Miracle Hills Park” in order to photograph and measure all such barriers to
access and violations of the ADA and the ADAAG.
      34.      Compliance with the ADA standards and the ADAAG is required by 42
U.S.C § 12182(b)(2)(A)(iv) because removal of architectural barriers is readily achieva-




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ble. Compliance with the ADA standards and the ADAAG is readily achievable by De-
fendant due to the lack of difficulty and low cost of remedying the above-listed barriers.
Some of the above-listed violations can be remedied through the same measures pre-
scribed by federal regulation as examples of modifications that are “readily achievable”,
including, but not limited to, creating accessible parking spaces. 28 C.F.R. § 36.304(b).
      35.    Compliance is also readily achievable due to the significant assistance avail-
able to businesses. Section 44 of the IRS Code allows a Disabled Access tax credit for
small businesses with 30 or fewer full-time employees or with total revenues of $1 million
or less, which is intended to offset the cost of undertaking barrier removal and alterations
to improve accessibility. Section 190 of the IRS Code provides a tax deduction for busi-
nesses of all sizes for costs incurred in removing architectural barriers, up to $15,000. See
ADA Update: A Primer for Small Business, http://www.ada.gov/regs2010/smallbusi-
ness/smallbusprimer2010.htm#tax (Mar. 16, 2011).
      36.    As a person with a disability, Plaintiff Davis has a personal interest in having
full and equal access to places of public accommodation and to the goods, services, facil-
ities, privileges, advantages or other things offered therein.
      37.    Without injunctive relief, Defendant’s failure to remove accessibility barriers
will continue to cause injury to Plaintiff, who will continue to be unable to independently
access “Miracle Hills Park” and/or to enjoy the goods, services, privileges, advantages
and/or accommodations offered therein on a full and equal basis, in violation of her rights
under the ADA.

                         FIRST CAUSE OF ACTION
    Violations of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.

      38.    Plaintiff incorporates and realleges the above paragraphs.
      39.    Section 302(a) of Title III of the ADA, 42 U.S.C. §§ 12101 et seq., provides:

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              No individual shall be discriminated against on the basis of dis-
              ability in the full and equal enjoyment of the goods, services,
              facilities, privileges, advantages, or accommodations of any
              place of public accommodation by any person who owns,
              leases (or leases to), or operates a place of public accommoda-
              tion.

       40.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination
to deny individuals with disabilities an opportunity to participate in or benefit from the
goods, services, facilities, privileges, advantages, or accommodations that is equal to the
opportunities afforded to other individuals.
       41.    Defendant has discriminated against Plaintiff and others in that it failed to
make its place of public accommodation fully accessible to persons with disabilities on a
full and equal basis in violation of 42 U.S.C. § 12182(a) and the regulations promulgated
thereunder, including the ADAAG, as described above. Plaintiff Davis has been denied full
and equal access to “Miracle Hills Park” and/or has been denied the opportunity to partic-
ipate in or benefit from the goods, services, facilities, privileges, advantages, or accommo-
dations on a full and equal basis.
       42.    Defendant has failed to take any prompt and equitable steps to remedy its
discriminatory conduct. Defendant’s violations of the ADA and ADAAG are ongoing.
       43.    Defendant has failed to remove architectural barriers to full and equal access
by Plaintiff Davis, even though removing the barriers is readily achievable.
       44.    Plaintiff Davis plans to visit “Miracle Hills Park” again in the near future.
Plaintiff is without adequate remedy at law, has suffered and is suffering irreparable harm,
and reasonably anticipates that she will continue to suffer irreparable harm upon her
planned return visit to “Miracle Hills Park” unless and until Defendant is required to re-
move the physical barriers to access and ADA violations that exist at Defendant’s place of
public accommodation, including those set forth specifically herein.


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       45.      This Court has authority under 42 U.S.C. § 12188 to grant Plaintiff injunctive
relief, including an order requiring Defendant to make “Miracle Hills Park” readily acces-
sible to and independently usable by individuals with disabilities to the extent required by
the ADA and ADAAG, and/or to close “Miracle Hills Park” until such time as Defendant
cures the access barriers.
       46.      Plaintiff has retained the undersigned counsel for the filing and prosecution
of this action, and is entitled to recover reasonable attorneys’ fees, litigation expenses and
costs from Defendant, pursuant to 42 U.S.C. §§ 12205, 12117, and 28 C.F.R. § 36.505.



WHEREFORE, Plaintiff respectfully requests:

             a. Plaintiff demands a trial in Omaha, Nebraska.
             b. That the Court issue a Declaratory Judgment that determines that Defend-
                ant’s facilities, at the commencement of the instant suit, are in violation of
                Title III of the ADA, 42 U.S.C. § 12181, et seq., and the relevant implement-
                ing regulations including the ADAAG.
             c. That the Court issue a permanent injunction, pursuant to 42 U.S.C.
                § 12188(a)(2) and 28 C.F.R. § 36.504(a), enjoining Defendant from contin-
                uing its discriminatory practices; including an order directing Defendant to
                make all readily achievable alterations to its facilities so as to remove physi-
                cal barriers to access and make its facilities fully accessible to and inde-
                pendently usable by individuals with disabilities to the extent required by the
                ADA; and also including an order requiring Defendant to make all reasonable
                modifications in policies, practices or procedures necessary to afford all of-
                fered goods, services, facilities, privileges, advantages or accommodations
                to individuals with disabilities on a full and equal basis.

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        d. That the Court award Plaintiff her reasonable attorneys’ fees, litigation ex-
           penses, and costs of suit pursuant to 42 U.S.C. § 12205 and 28 C.F.R.
           § 36.505, or as otherwise provided by law; and
        e. That the Court issue such other relief as it deems just and proper, and/or is
           allowable under Title III of the ADA.




DATED: November 22, 2017

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